

Scott v Kosova Props. Inc. (2025 NY Slip Op 01070)





Scott v Kosova Props. Inc.


2025 NY Slip Op 01070


Decided on February 25, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 25, 2025

Before: Kern, J.P., Friedman, Kapnick, Rodriguez, O'Neill Levy, JJ. 


Index No. 160924/19|Appeal No. 3771|Case No. 2024-06718|

[*1]Gregory Scott, Plaintiff-Appellant,
vKosova Properties Inc. et al., Defendants-Respondents.


The Basil Law Group, P.C., New York (Robert J. Basil of counsel), for appellant.
McElroy, Deutsch, Mulvaney &amp; Carpenter, LLP, New York (John P. Cookson of counsel), for respondents.



Order, Supreme Court, New York County (Lynn R. Kotler, J.), entered October 28, 2024, which granted defendants' motion for a protective order with respect to plaintiff's August 23, 2023 notice to take deposition, unanimously affirmed, without costs.
Supreme Court providently exercised its discretion in granting defendants' motion under CPLR 3103 for a protective order limiting the scope of the depositions and precluding questions pertaining to the topics set forth in numbers 8, 10, 11, and 13 of the notice because either the information sought is subject to the attorney-client privilege, or the topic is not sufficiently tailored to seek information material and necessary to the prosecution or defense of this action (CPLR 3101[a]). The court's discretionary determination is entitled to deference (see Gumbs v Flushing Town Ctr. III, L.P. , 114
AD3d 573, 574 [1st Dept 2014]).
We have considered plaintiff's remaining contentions and find them unavailing.THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 25, 2025








